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                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF MARYLAND

        CHAMBERS OF                                                           101 WEST LOMBARD STREET
  STEPHANIE A. GALLAGHER                                                     BALTIMORE, MARYLAND 21201
UNITED STATES DISTRICT JUDGE                                                         (410) 962-7780
                                                                                   Fax (410) 962-1812


                                                     November 3, 2020

  LETTER ORDER

         RE:      USA v. Jean Buteau Remarque; Criminal Case No. SAG-19-0039

  Dear Counsel:

          I have reviewed Mr. Remarque’s Motion to Dismiss the Indictment for Unnecessary Delay
  in Bringing the Defendant to Trial, ECF 139, the Government’s Opposition, ECF 149, and Mr.
  Remarque’s reply, ECF 161. No hearing is necessary. For the reasons stated below, the motion
  will be DENIED.

         Procedural Background

          A detailed review of this case’s procedural history is crucial to the Court’s analysis. Mr.
  Remarque’s initial appearance in federal court, on a one-count indictment charging possession of
  child pornography, occurred on January 30, 2019. ECF 6. The federal public defender’s office
  entered its appearance on Mr. Remarque’s behalf, ECF 14, and filed two suppression motions
  thirteen days later, on February 12, 2019. ECF 16, 17. According to Mr. Remarque’s own
  timeline, “Before the Court held a hearing to dispose of the motions to suppress and pretrial
  conference scheduled for March 5, 2019, the Assistant Public Defender brought a plea agreement
  to Defendant.” 1 ECF 135 at 3. The docket reflects that the former presiding judge, United States
  District Judge Paula Xinis, held a hearing that had been noticed as a rearraignment on March 20,
  2019. ECF 19. Mr. Remarque withdrew from the plea agreement, id., and Judge Xinis referred
  the case to a magistrate judge for an attorney inquiry hearing. ECF 20. Following that hearing,
  an attorney from this Court’s Criminal Justice Act (“CJA”) panel, Michael D. Montemarano, Esq.,
  entered his appearance on March 25, 2019. ECF 22. However, just a few weeks later on April 8,
  2019, private retained counsel, Seth Russell Okin, Esq., replaced Mr. Montemarano as counsel for
  Mr. Remarque. ECF 27. Mr. Okin quickly filed a motion for discovery, ECF 28, which Judge
  Xinis denied, ECF 30.

          The docket reflects that Judge Xinis held status conference calls with counsel on April 15,
  2019, and May 30, 2019. However, on June 14, 2019, Mr. Remarque docketed a letter in which
  he represented that he had “not heard from Attorney Seth Okin Esq. since April 8, 2019,” the date
  he had entered his appearance. ECF 33. Mr. Okin subsequently filed a motion to withdraw as
  counsel. ECF 36. Judge Xinis re-referred the case to a magistrate judge for another attorney

  1 Mr. Remarque’s understanding of the case’s posture appears flawed, as Judge Xinis had
  scheduled an initial conference call for March 5, 2019, not a motions hearing or a pretrial
  conference. ECF 18.
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inquiry hearing, which occurred on July 19, 2019, and resulted in the termination of Mr. Okin’s
appearance. ECF 41. Mr. Montemarano again became counsel of record, and requested sixty days
to provide a status report to the Court. ECF 42. Judge Xinis held a telephone conference on
September 25, 2019, and subsequently entered the case’s initial pretrial scheduling order. ECF
46. The scheduling order set, inter alia, a December 2, 2019 deadline for Mr. Remarque to file or
supplement pretrial motions, a motions hearing date of January 3, 2020, and a trial date of March
25, 2020. ECF 46.

       During this entire period, while Mr. Remarque was repeatedly replacing his counsel, the
motions filed on Mr. Remarque’s behalf by the assistant federal public defender remained pending.
On or before the December 2, 2019 deadline, Mr. Montemarano filed six additional pre-trial
motions. ECF 56, 57, 59, 60, 61, 64. A motions hearing occurred on February 4, 2020, at which
Judge Xinis denied Mr. Remarque’s pre-trial motions. ECF 74, 75.

         On March 5, 2020, Mr. Montemarano sought a brief extension of time to file motions in
limine for the expected trial on March 25, 2020. ECF 80. He timely filed a motion in limine on
March 6, 2020. ECF 82. However, on March 9, 2020, the Clerk docketed a letter from Mr.
Remarque, which was dated March 4, 2020, asking that Mr. Montemarano be removed as his
counsel. ECF 83. On March 10, 2020, Judge Xinis again referred the case to a magistrate judge
for a third attorney inquiry hearing. ECF 84. Before that hearing, however, on March 11, 2020,
Chief Judge James K. Bredar issued the first of a long series of orders restricting access to Court
facilities in light of the COVID-19 pandemic. See Standing Order No. 2020-02. Two days later,
Mr. Montemarano filed a joint request to vacate the schedule in this case “since the Court will be
closed over most of these dates as now set and all jury trials have been cancelled.” ECF 85.

       On March 30, 2020, Mr. Montemarano filed a motion seeking Mr. Remarque’s release
from custody for health and safety reasons, citing the pandemic. ECF 86. After briefing, United
States Magistrate Judge Timothy J. Sullivan denied the motion. ECF 90. Mr. Montemarano
sought review by the presiding judge, Judge Xinis, who denied the motion for release on April 27,
2020, following additional briefing. ECF 92, 100.

        On May 17, 2020, the Government filed its first motion to exclude time pursuant to the
Speedy Trial Act. ECF 101. Judge Xinis held a teleconference on June 11, 2020, but just two
days later, another privately retained attorney, Donald LaRoche, Esq., entered his appearance for
Mr. Remarque. ECF 102. Judge Xinis granted the Government’s motion to exclude time on June
19, 2020, in a lengthy order detailing the procedural history of this case and the Court’s operational
status in light of the public health concerns engendered by the pandemic. ECF 103.

        On July 18, 2020, Mr. LaRoche filed a motion to withdraw the motion in limine that had
been filed by Mr. Montemarano. ECF 104. On July 26, 2020, the Government filed a second
motion to exclude time pursuant to the Speedy Trial Act, which Judge Xinis granted in another
detailed order on July 27, 2020. ECF 105, 106. In August, 2020, the Court began scheduling a
very limited number of jury trials in priority cases, because it had then implemented sufficient
public safety measures including, but not limited to, physical rearranging of courtroom facilities,
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installation of plexiglass barriers, and consultation with epidemiologists and engineers regarding
air circulation. As a result, Judge Xinis entered a new scheduling order, which set a pre-trial
conference for September 15, 2020 and a trial date for September 21, 2020. ECF 109. The order
noted that the expected length of trial would be one week. Id. On August 17, 2020, the case was
reassigned from Judge Xinis to my docket.

         Upon review of the record, and consultation with the judges who had presided over the
first jury trials held during the pandemic, this Court ordered counsel to provide an estimated
number of the witnesses to be called at trial, and the approximate length of their testimony. ECF
120. Those estimates reflected that the Government’s case would last approximately 1.5 days, but
that the defense anticipated calling up to ten witnesses, and thought that with a Haitian Creole
speaking interpreter, the testimony of those witnesses would be estimated to last 3 days. ECF 122,
123. By this time, the Court had learned that jury selection for a criminal case, using the new
procedures designed to protect public health and safety, consumed one full trial day. Accordingly,
the Court became concerned that the trial would not be able to be completed during a single trial
week, which would not allow for a full day of jury selection plus four-and-one-half days of
testimony (not including opening statements, closing argument, or jury instructions).

         The trial calendar in the Greenbelt courthouse, where Mr. Remarque’s trial had been
scheduled, would not permit this trial to extend past its one-week allotted window. However, on
September 4, 2020, this Court notified counsel that if the trial were held in the Baltimore
Courthouse (located roughly twenty-five miles from the Greenbelt Courthouse), the trial could
start as scheduled and could extend into the following week to accommodate all of the anticipated
witnesses. ECF 124.

       On September 8, 2020, Mr. LaRoche indicated that Mr. Remarque objected to reducing the
number of trial days, and also objected to relocating the trial to Baltimore. ECF 125. Accordingly,
on September 8, 2020, this Court removed the September trial date from the Court’s trial calendar,
and directed counsel to meet and confer to provide the Court with additional trial dates. ECF 126.

        After several attempts to obtain a list of dates agreed by both counsel, on October 2, 2020,
this Court calendared the trial for its present trial date, November 16, 2020. ECF 138. Absent an
uptick in viral activity causing the Court to reduce its operations to protect public health, the case
will proceed to trial as scheduled.

       Legal Analysis

        Mr. Remarque argues that the Government failed to comply with constitutional and
statutory requirements that he be afforded a speedy trial. ECF 139. This Court looks first to the
Speedy Trial Act, 18 U.S.C. § 3161(c)(1), which generally requires that “the trial of a defendant
charged in an information or indictment with the commission of an offense shall commence within
seventy days from the filing date (and making public) of the information or indictment.” The
Speedy Trial Act provides that its seventy-day “clock” is tolled in certain circumstances, including
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when the defendant files a pre-trial motion, 18 U.S.C. § 3161(h)(1)(D), or when the ends of justice
so require, 18 U.S.C. § 3161(h)(7)(A).

        Mr. Remarque’s initial appearance in court occurred on January 30, 2019. His attorney
filed pre-trial motions thirteen days later, and those motions remained pending between February
12, 2019 and February 4, 2020. Mr. Remarque’s counsel filed additional motions on March 5,
2020, and March 6, 2020, and the later of those motions remained pending until October 13, 2020.
By that time additional defense motions had been filed, one of which remained pending until
October 30, 2020. Thus, as of this writing, in this Court’s view the only time credited against the
seventy-day speedy trial clock is (1) the initial thirteen days before the initial motions were filed,
plus (2) the thirty days between February 4, 2020 and March 5, 2020, for a maximum total of forty-
three days. 2 No Speedy Trial Act violation has occurred.

       Though his statutory speedy trial claim is unavailing, Mr. Remarque also contends that the
Government violated his constitutional right to a speedy trial. ECF 139. Such claims are governed
by the four-factor test the Supreme Court elucidated in Barker v. Wingo, 407 U.S. 514 (1972).
Specifically, the Court is to weigh: (1) the length of the delay; (2) the reason for the delay; (3)
whether defendant timely asserted his right; and (4) whether the delay prejudiced the defendant’s
case. Id. at 530. The inquiry requires a “difficult and sensitive balancing process.” Id. at 533.

        The court will assume that the first factor, the 20-month length of this delay, weighs in
favor of Mr. Remarque, and thus that the Court should inquire “into to the other factors that go
into the balance.” Id. at 530. However, the second factor, the reason for the delay, weighs
overwhelmingly in favor of the Government. Despite Mr. Remarque’s attempt to portray the delay
as resulting from the Government’s delinquent response to his motions to suppress, ECF 139 at 8,
the docket conclusively tells a much different story. The delay from the filing of the motions to
suppress in February, 2019, through the setting of the case schedule in September, 2019, was
directly attributable to the initial but ultimately unsuccessful plea negotiations, Mr. Remarque’s
repeated replacement of his counsel, and the attendant delays with each replacement. See, e.g.,
ECF 42 (July 22, 2019 letter from Mr. Montemarano requesting a sixty-day continuance upon his
re-entry of appearance). In September, 2019, Judge Xinis set a reasonable trial schedule that the
parties adhered to, until the pandemic necessitated an indefinite postponement. ECF 109. Even
Mr. Remarque concedes that “a pandemic such as COVID-19 is a neutral reason for trial delay,”
ECF 139 at 11, but suggests that the Government should still be held at fault, because his trial
would have occurred pre-pandemic absent the initial periods of delay. As described above, that
logic is belied by the record, which unequivocally rests blame for the initial delays on Mr.
Remarque’s recurring dissatisfaction with, and replacement of, his attorneys. 3 No one contests

2In addition to the time being excludable under § 3161(h)(1)(D) because of the pending defense
motions, Judge Xinis also made two separate findings that the ends of justice required exclusion
of the time between March 16, 2020 and September 28, 2020. ECF 103, 106.

3Mr. Remarque correctly notes that the Government also changed counsel on several occasions.
ECF 161 at 7. The docket does not reflect any delays resulting from the replacement of AUSAs.
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Mr. Remarque’s right to counsel of choice, but he is not entitled to attribute the delays resulting
from his decisions to the Government.

         The third factor is the defendant’s assertion of his speedy trial rights. Certainly, the record
indicates that Mr. Remarque has asserted his speedy trial rights throughout the pendency of this
litigation. While those assertions would typically weigh in Mr. Remarque’s favor, they are
undermined, as noted above, by his repeated replacement of his attorneys, including his attempt to
remove his attorney just two weeks before his scheduled March, 2020 trial (at which point he had
already been detained for over one year). See, e.g., ECF 83. The record clearly reflects that Mr.
Remarque prioritized his satisfaction with counsel over his proffered desire to proceed
expeditiously to trial. His priorities other than a speedy trial also became clear when he declined
to proceed to trial on September 21, 2020 in the Baltimore Courthouse, in favor of an indefinitely
delayed trial in the Greenbelt Courthouse. Thus, this factor is neutral.

         The final factor is the prejudice caused by the delay. The primary prejudice cited by Mr.
Remarque arises from the pandemic: witnesses that are unavailable because of pandemic-related
travel restrictions and/or the expiration of their visas, and public health restrictions preventing his
attorney from visiting him in jail. 4 ECF 139 at 11-13. Again, the delay that eventually resulted in
his trial being impacted by the pandemic was caused by Mr. Remarque’s own choices. He
replaced his federal public defender with a privately retained attorney who, Mr. Remarque alleges,
failed to provide adequate representation, resulting in the need to again replace that second attorney
with counsel from the Criminal Justice Act panel. Without those actions, months of delay could
have been avoided, and Mr. Remarque’s trial may have concluded in 2019. Similarly, most of the
oppressive conditions of pretrial incarceration cited by Mr. Remarque stem from the pandemic and
the related public health measures that had to be instituted within correctional institutions.

        Ultimately, a balancing of the relevant factors reveals that the blame for the early delay
rests with the defense, not with the Government. The latter portion of the delay results from the
global pandemic that could not have been foreseen by any party, and the severe public health
concerns preventing jury trials from proceeding safely for many months. Under these highly
unusual circumstances, despite the delay in this case, the Government has not infringed Mr.
Remarque’s constitutional right to a speedy trial.




4Mr. Remarque also suggests that witnesses now have “dimmed memories,” but has proffered or
established no evidence of such failures of recollection. ECF 161 at 1.
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       For the foregoing reasons, Mr. Remarque’s motion to dismiss for unnecessary delay in
bringing the defendant to trial, ECF 139, is DENIED. Despite the informal nature of this letter, it
is an Order of the Court and will be docketed as such.

                                                     Sincerely yours,

                                                            /s/

                                                     Stephanie A. Gallagher
                                                     United States District Judge
